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                                   UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF MICHIGAN
                                        SOUTHERN DIVISION


 KAREN SAUNDERS,                                 §
                                                 §
                      Plaintiff,                 §     Civil Docket No. 1:17-CV-335-GJQ-RSK
                                                 §
 v.                                              §
                                                 §                   Honorable Gordon J. Quist
 DYCK O’NEAL, INC.,                              §
                                                 §
                      Defendant.                 §



                 NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE


          Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Defendant Dyck

O’Neal, Inc. (“DONI”) voluntarily dismiss without prejudice its Third-Party Complaint against

Third-Party Defendant VoApps, Inc. This notice of dismissal is being filed with the Court before

service by VoApps of either an answer or a motion for summary judgment.



Dated: November 30, 2018                               Respectfully submitted,
                                                       MALONE AND MARTIN PLLC
                                                       /s/ Xerxes Martin
                                                       EUGENE XERXES MARTIN, IV
                                                       Texas State Bar No. 24078928
                                                       Email: xmartin@mamlaw.com
                                                       MALONE AND MARTIN PLLC
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                                                       Dallas, Texas 75231
                                                       TEL: (214) 346-2630
                                                       FAX: (214) 346-2631
                                                       COUNSEL FOR DEFENDANT
                                                       DYCK O’NEAL, INC.


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                                  CERTIFICATE OF SERVICE
          I hereby certify that a true and correct copy of the above and foregoing has been forwarded
 via CM/ECF, to all parties of interest who have made an appearance in the case on this 30th of
 November, 2018:

                                                         /s/ Xerxes Martin
                                                         EUGENE XERXES MARTIN, IV




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